                                                                                         CLERK'S OFFICE U.S. DIST. COURT
                                                                                                 AT ROANOKE, VA
                                                                                                         FILED
     For Clerk's Office Use
    ~I          Rec'd                                                                            AUG 09 2019
                                  IN THE UNITED STATES DISTRICT                               JUUff.~·UfD~L~E'(.C~~
                                                                                                                 ERK   '
                                                                                            BY:~
                                  COURT FOR THE WESTERN DISTICT
                                                                                                    .       .    .
                                  OF VIRGINIA

     For use by inmates filing a complaint under CIVIL RIGHTS ACT, 42 U.S.C. §1983



     Plaintiff full name                                                              Inmate No.

     v.                                             CIVIL ACTION NO.                  c
                                                                           3"' "\9\ 'AJ 5 Slo-

     Defendant(s) full name(s)




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              A. Current facility and address: An1W6t              Gc?ul)±:t A-dul-+ De,tf;,o±,ttlPt)
              Ge.tl   ±ei.,       p...0.   ~&X 1160       Mg,~ 1"$0fl lfe, ~ 3'h ts ltd-                2.. '·1.~7Z

              B. Where did this action take place?       Yllhe;tz.e..J'S .fl-t,r/-QM<gtf\ft-t      J.,.ync..~ bu.f<j 11'~.
              C. Have you begun an action in state or federal court dealing with the same
                 facts involved in this complaint?

                           Yes             V   No
                                                                      /

                  If your answer to A is Yes, answer the following:

                        1. Court: ____________________________~-----------------

                        2. Case Number:----------------.,-------------------------

              D. Have you filed any grievances regarding the facts of this complaint?

                  _ _ Yes                  /No

                  1. If your answer is Yes, indicate the result:




                  2. If your answer is No, indicate why:



 Case 7:19-cv-00556-JPJ-PMS Document 1 Filed 08/09/19 Page 1 of 3 Pageid#: 1
         E. Statement of Claim(s): State briefly the facts in this complaint. Describe what
            action(s) each defendant took in violation of your federal rights and include the
            relevant dates and places. Do not give any legal arguments or cite any cases
            or statutes. If necessary, you may attach additional page(s). Please write
            legibly.


         Claim #1 -Supporting Facts- Briefly tell your story without citing cases or law:

         0/\ ' " -13-17      ,.,ht\"t'-   t.Y+   M'j   Jl?.b    I   VQ6    g,ppfc9Q{A,e,J by z.. J-PI>
         pc2)lc.t..   CJ-1\J- 'tt91J      I- v4S         \..<Od-e,{'   a-ttest          w~ :z; Q/.5/je-d.

        w ht:tt ~t9(' +~e.y S<'J-f-J tbe4                      d.tcJ11lt   ls-flt.9rl    (U)d;   pJQked    /lA   e.,
         Claim #2- Supporting Facts- Briefly tell your story without citin~ cases or law:




     F. State what relief you seek from the Court. Make no legal arguments and cite no
        cases or statutes.




     G. If this case goes to trial do you request a trial by jury?              Yes

     H. If I am released or transferred, I understand it is my responsibility to immediately
        notify the court in writing of any change of address after I have been released or
        transferred or my case may be dismissed.


     DATED:      fS -{9- JCJ'                    SIGNATURE:~ ~J:P.. ..
     VERIFICATION:
     I, l-~(}.f'J t\~tllfJ Biav)!,v~ll ").1?. ·               , state that I am the plaintiff in this action and I
     know the content of the above complaint; that it is true of my own knowledge, except as to those
     matters that are stated to be based on information and belief, and as to those matters, I believe
     them to be true. I further state that I believe the factual assertations are sufficient to support a
     claim of violation of constitutional rights. Further, I verify that I am aware of the provisions set
     forth in 28 U.S.C. §1915 that prohibit an inmate from filing a civil action or appeal, if the prisoner
     has, on three or more occasions, while incarcerated brought an action or appeal in federal court
     that is dismissed on the grounds that it was frivolous, malicious, or failed to state a claim upon
     which relief may be granted, unless the prisoner is imminent danger of serious physical injury. I
     understand that if this complaint is dismissed on any of the above grounds, I may be prohibited
     from filing any future actions without the pre-payment of. the filing fees. I declare under p7nlty of
     perjury the foregoing to be true and correct                             /,

     DATED:    <(-b-JCf                           SIGNATURE:;/.e~                       I£.~               X&

Case 7:19-cv-00556-JPJ-PMS Document 1 Filed 08/09/19 Page 2 of 3 Pageid#: 2
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           Case 7:19-cv-00556-JPJ-PMS Document 1 Filed 08/09/19 Page 3 of 3 Pageid#: 3
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